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 9
10
11                        UNITED STATES DISTRICT COURT
12                FOR THE EASTERN DISTRICT OF CALIFORNIA
13
14
                                                1:19-cv-0345-DAD-JLT
15
     STACY ROJAS, IVETT AYESTAS,            )   Case No. 1:17-CV-01514-DAD-JLT
16   SARAH LARA, and CLAUDIA “ISAAC”        )
     MEDINA,                                )   FIRST AMENDED COMPLAINT
17                                          )   FOR INJUNCTIVE AND
18               Plaintiffs,                )   DECLARATORY RELIEF AND
                                            )   DAMAGES
19         vs.                              )
                                            )   Demand for Jury Trial
20   SCOTT KERNAN, Secretary of the         )
21   California Department of Corrections   )
     and Rehabilitation; JANEL              )
22   ESPINOZA, Acting Warden,               )
     California Central Women’s             )
23   Facility; DERRAL ADAMS, Former         )
24   Acting Warden, Central California      )
     Women’s Facility; DEBORAH K.           )
25   JOHNSON, Former Acting Warden,         )
     Central California Women’s Facility;   )
26   CDCR LIEUTENANT TIMOTHY                )
27   TEGTMEYER; CDCR SERGEANT               )
     JASON COLLIER; CDCR OFFICER            )
28   MIGUEL HERRERA; CDCR OFFICER           )
     STEVEN REYNOLDS; CDCR                  )


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 1       OFFICER ISRAEL TREVINO; CDCR               )
 2       OFFICER ABDEL DALIE; CDCR                  )
         SERGEANT GILBERT RUBALCAVA;                )
 3       CDCR OFFICER ANSELMO                       )
         VALENCIA; and CDCR OFFICER                 )
 4       ALBERT DEL TORO,                           )
 5                                                  )
                    Defendants.                     )
 6                                                  )
 7
 8                                     I. INTRODUCTION

 9           1.    Plaintiffs Stacy Rojas, Ivett Ayestas, Sarah Lara, and Isaac Medina 1 were at

10   one time incarcerated at Central California Women’s Facility (“CCWF”), a state prison

11   operated by California Department of Corrections and Rehabilitation (“CDCR”). While

12   housed at CCWF on or about November 11, 2015, Plaintiffs Rojas, Ayestas, and Lara

13   were viciously assaulted and tormented without cause or justification, resulting in

14   physical and emotional injury. They were denied medical treatment for their injuries

15   and prevented from filing grievances about the assault they experienced. Similarly, on

16   January 5, 2017, while incarcerated at CCWF, Isaac Medina was viciously assaulted

17   without cause or justification, resulting in physical and emotional injury. He was denied

18   medical treatment for his injuries.

19           2.    Plaintiffs are all gender non-conforming and/or queer individuals, and are

20   all survivors of sexual trauma and violence.

21           3.    There is a pervasive culture of intolerance of gender non-

22   conforming and queer prisoners at Central California Women’s Facility that

23   has manifested in consistent verbal harassment and physical abuse against

24   plaintiffs and others. Plaintiffs who remain incarcerated regularly

25   experience sexual harassment and threats of sexual violence from

26   corrections officers.

27
28   1Isaac Medina’s legal name is Claudia Medina. This complaint will refer to him by his
     chosen name and the male pronoun, which is his preferred pronoun.


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 1         4.     In August of 2016, the non-profit law firm Prison Law Office made public
 2   a report that was developed pursuant to its monitoring requirements in the matter
 3   Armstrong et al. v. Brown et al. No. CV-94-02307-CW.2 Among other findings, the
 4   report concluded that:
 5                a.     Prisoners face retaliation for using the appeals
                         process to report a problem, to request assistance, or
 6                       to ask for help or protection.
 7                b.     Officers use excessive and/or unnecessary force on
                         prisoners.
 8                c.     Staff physically and sexually abuse, harass, and
                         threaten prisoners.
 9                d.     Custody staff perpetuate a culture of bigotry, sexual
10                       harassment and casual misogyny addressing women
                         not by their names, but as “bitches,” “hos,” or
11                       “whores,” or with racial epithets.
12         5.     The culture exists in part due to defendant Kernan’s and
13   defendant Espinioza’s failure to enact and enforce policies requiring
14   officers to refrain from abusive and harassing behavior and to discipline
15   officers when they engage in such behavior.
16         6.     Plaintiffs continue to experience the constitutional violations
17   complained of herein and fear reprisal for reporting or attempting to report
18   such behavior. Without remedy in the form of injunctive and declaratory
19   relief against defendant Kernan and defendant Espinioza, these
20   unconstitutional practices will continue and plaintiffs will continue to
21   suffer.
22                            II. JURISDICTION AND VENUE
23         7.     Plaintiffs bring claims pursuant to 42 U.S.C. § 1983 and the Fourth, Eighth
24   and Fourteenth Amendments to the United States Constitution.
25         8.     This Court has jurisdiction for claims seeking injunctive and
26
27   2Central California Women’s Facility (CCWF) Report by the Prison Law
     Office (Aug. 19, 2016), available at http://prisonlaw.com/wp-
28
     content/uploads/2016/08/16.08.18-Prison-Law-Office-report-on-
     CCWF.pdf.


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 1   declaratory relief and damages pursuant to 28 U.S.C. §§ 1331, 1343 and the
 2   Declaratory Judgment Act, 28 U.S.C §§ 2201, 2202.
 3          9.     Venue is proper in the Eastern District of California pursuant to 28 U.S.C.
 4   § 1391(b)(2), in that a substantial part of the events or omissions giving rise to the
 5   claims brought by plaintiffs and the class have occurred in Madera County in this
 6   District.
 7                                         III. PARTIES
 8         10.     Plaintiff STACY ROJAS is a gender non-conforming former prisoner of
 9   California Department of Corrections and Rehabilitation. At all times relevant to
10   this suit, plaintiff Rojas was imprisoned at California Central Women’s
11   Facility.
12         11.     Plaintiff IVETT AYESTAS is a prisoner under the custody and control of
13   California Department of Corrections and Rehabilitation. At all times relevant to
14   this suit, plaintiff Ayestas was imprisoned at California Central Women’s
15   Facility.
16         12.     Plaintiff SARAH LARA is a prisoner under the custody and control of
17   California Department of Corrections and Rehabilitation. Plaintiff Lara is currently
18   imprisoned at California Central Women’s Facility.
19         13.     Plaintiff ISAAC MEDINA is a transgender prisoner under the custody and
20   control of California Department of Corrections and Rehabilitation.
21         14.     Defendant SCOTT KERNAN is the Secretary of the California Department
22   of Corrections and Rehabilitation. Defendant Kernan is responsible for ensuring that
23   the CDCR complies with all state and federal laws, and that the civil and legal rights of
24   individuals confined by CDCR are upheld. Defendant Kernan is sued in his
25   official capacity for prospective injunctive relief and declaratory relief.
26         15.     Defendant JANEL ESPINOZA is the current Acting Warden of
27   Central California Women’s Facility. As Acting Warden, defendant
28   Espinoza is responsible for ensuring that CCWF complies with all state and



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 1   federal laws, and that the civil and legal rights of individuals confined at
 2   CCWF are upheld. Defendant Espinoza is sued in her official capacity for
 3   prospective injunctive relief and declaratory relief.
 4         16.     Defendant DERRAL ADAMS is the former Acting Warden of Central
 5   California Women’s Facility and was Acting Warden when plaintiff Medina was
 6   injured. While in the position of Warden, defendant Adams was responsible
 7   for ensuring that CCWF complies with all state and federal laws, and that the civil and
 8   legal rights of individuals confined at CCWF are upheld. At all times relevant to this
 9   suit, he was acting under color of law and within the scope of his employment.
10   Defendant Adams is sued individually for damages.
11         17.     Defendant DEBORAH K. JOHNSON is the former Acting Warden of
12   Central California Women’s Facility and was Acting Warden when plaintiffs
13   Rojas, Ayestas and Lara were injured. While in the position of Acting Warden,
14   defendant Johnson was responsible for ensuring that the CCWF complied with all state
15   and federal laws, and that the civil and legal rights of individuals confined at CCWF
16   were upheld. At all times relevant to this suit, she was acting under color of law and
17   within the scope of his employment. Defendant Johnson is sued individually for
18   damages.
19         18.     Defendant LIEUTENANT TIMOTHY TEGTMEYER is employed by the
20   CDCR at CCWF and was personally involved in the events described herein. At all times
21   relevant to this suit, he was acting under color of law and within the scope of his
22   employment. He is sued individually for damages and in his official capacity as an
23   officer for CDCR for prospective injunctive relief and declaratory relief.
24         19.     Defendant SERGEANT JASON COLLIER is employed by the CDCR at
25   CCWF and was personally involved in the events described herein. At all times relevant
26   to this suit, he was acting under color of law and within the scope of his employment.
27   He is sued individually for damages and in his official capacity as an officer for CDCR
28   for prospective injunctive relief and declaratory relief.



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 1         20.     Defendant OFFICER MIGUEL HERRERA is employed by the CDCR at
 2   CCWF and was personally involved in the events described herein. At all times relevant
 3   to this suit, he was acting under color of law and within the scope of his employment.
 4   He is sued individually for damages and in his official capacity as an officer for CDCR
 5   for prospective injunctive relief and declaratory relief.
 6         21.     Defendant OFFICER STEVEN REYNOLDS is employed by the CDCR at
 7   CCWF and was personally involved in the events described herein. At all times relevant
 8   to this suit, he was acting under color of law and within the scope of his employment.
 9   He is sued individually for damages and in his official capacity as an officer for CDCR
10   for prospective injunctive relief and declaratory relief.
11         22.     Defendant OFFICER ISRAEL TREVINO is employed by the CDCR at
12   CCWF and was personally involved in the events described herein. At all times relevant
13   to this suit, he was acting under color of law and within the scope of his employment.
14   He is sued individually for damages and in his official capacity as an officer for CDCR
15   for prospective injunctive relief and declaratory relief.
16         23.     Defendant OFFICER ABDEL DALIE is employed by the CDCR at CCWF
17   and was personally involved in the events described herein. At all times relevant to this
18   suit, he was acting under color of law and within the scope of his employment. He is
19   sued individually for damages and in his official capacity as an officer for CDCR for
20   prospective injunctive relief and declaratory relief.
21         24.     Defendant SERGEANT GILBERT RUBALCAVA is employed by the CDCR
22   at CCWF and was personally involved in the events described herein. At all times
23   relevant to this suit, he was acting under color of law and within the scope of his
24   employment. He is sued individually for damages and in his official capacity as an
25   officer for CDCR for prospective injunctive relief and declaratory relief.
26         25.     Defendant OFFICER ANSELMO VALENCIA is employed by the CDCR
27   at CCWF and was personally involved in the events described herein. At all times
28   relevant to this suit, he was acting under color of law and within the scope of his



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 1   employment. He is sued individually for damages and in his official capacity as an
 2   officer for CDCR for prospective injunctive relief and declaratory relief.
 3          26.   Defendant OFFICER ALBERT DEL TORO is employed by the CDCR at
 4   CCWF and was personally involved in the events described herein. At all times relevant
 5   to this suit, he was acting under color of law and within the scope of his employment.
 6   He is sued individually for damages and in his official capacity as an officer for CDCR
 7   for prospective injunctive relief and declaratory relief.
 8                              IV. FACTUAL ALLEGATIONS
 9          27.   On or about November 7, 2015, plaintiff Stacy Rojas was performing
10   programming duties near the guard’s desk in Unit 510 at CCWF.
11          28.   Rojas asked Officer Miguel Herrera at the guard’s desk to unlock a door
12   so that they could use the bathroom. In response, and without provocation, the guard
13   called Rojas a “stupid hoe.”
14          29.   Rojas was often called such names by guards. Tiring of such treatment,
15   Rojas told Officer Herrera that his and other guards’ similar comments had been
16   documented for weeks and that Rojas had evidence of their abuse that they planned to
17   submit to the Investigative Services Unit (“ISU”) to substantiate claims of abuse.
18          30.   Rojas then immediately demanded to speak to the ISU to report the
19   incidents of verbal abuse. Rojas said that they wanted to turn over the evidence of
20   verbal abuse to ISU.
21          31.   Despite Rojas’s request, the guards either denied or neglected to contact
22   ISU.
23          32.   On November 11, 2015, at or around 2 p.m., guards in their housing unit
24   instituted a unit and yard recall, which is an alarm that demands that all prisoners
25   return to their assigned housing. November 11, 2015, was Veterans’ Day, a federal
26   holiday, and on holidays, prisoners are allowed to stay in the yard for extended hours.
27   Therefore, on November 11, prisoners expected not to be recalled from the yard until 3
28   p.m.



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 1         33.     A unit and yard recall is used to conduct a count and dorm check.
 2   Typically in response to a recall, prisoners are expected to return to the doors of their
 3   individual cells and wait for the cells to be unlocked by guards after the prisoners are
 4   counted. On this day, the recall was used to force Rojas and their cellmates, which
 5   included Ayestas and Lara, to return to their dormitory cell.
 6         34.     Rojas, Ayestas, and Lara complied with the unit and yard recall and
 7   returned to their cell, which was unlocked.
 8         35.     Once there, Ayestas asked and received permission from a guard to
 9   retrieve her laundry that was in the laundry room, not far from her cell.
10         36.     After Rojas returned to their cell, guards ordered Rojas, Lara and their
11   roommates out of the cell and had them stand in the day room while they and other unit
12   staff conducted a destructive search of the cell that Rojas, Ayestas, and Lara shared.
13   Sergeant Jason Collier oversaw the operation and made comments to Rojas and Lara
14   that led them to believe that officers were searching for the evidence of officer
15   misconduct to which that Rojas had alluded several days earlier.
16         37.     As the nine to 10 Corrections Officers rifled through the belongings of the
17   six residents of the dormitory cell, Rojas again asked Sergeant Collier if they could speak
18   to ISU. Sergeant Collier continued to either deny or neglect plaintiff Rojas’ requests.
19         38.     Although Rojas and their roommates stayed out of the officers’ way, Rojas
20   continued to ask to speak to ISU.
21         39.     In response, Sergeant Collier began shoving Rojas around.
22         40.     Suddenly and with no warning, Sergeant Collier and other unknown
23   officers violently slammed Rojas to the ground and placed handcuffs on them.
24         41.     As plaintiff Ayestas exited the laundry room, she was commanded to
25   position herself on the ground face down where she was placed in handcuffs by Officer
26   Steven Reynolds.
27         42.     Plaintiff Lara began taking contemporaneous notes of the guards’ conduct.
28



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 1          43.    With Rojas incapacitated on the ground and in handcuffs, Sergeant Collier
 2   perf0rmed what is known as a “boot-burn” on Rojas’s back. A “boot-burn” is conducted
 3   by stomping forcefully onto a person’s back and then dragging one’s boot in a grating
 4   manner against the skin to create a burning sensation. Sergeant Collier did this for no
 5   other reason than to unjustifiably punish and cause pain to Rojas in retaliation for their
 6   complaints. As a result of the “boot-burn,” Rojas received severe bruising and
 7   lacerations on their back.
 8          44.    Guards took Rojas and Ayestas to the Program Office and placed them in
 9   isolation cages, which are typically used for brief holding and for programming. The
10   cages do not have a seat and do not provide much room to move.
11          45.    The Program Office is a standalone building situated between the C-yard
12   and the D-yard. There is a C-side and a D-side, which are separate but share restroom
13   facilities.
14          46.    The guards separated Rojas and Ayestas, placing Rojas in the D unit
15   program office and Ayestas in the C unit program office.
16          47.    After Rojas and Ayestas were removed, Lara, still in the Unit, requested a
17   grievance form so that she could lodge a formal complaint. The guard told her that they
18   would not provide access to the grievance form and told her to go sit down.
19          48.    When Lara insisted that she be provided the form, Sergeant Collier
20   responded by yelling at her to “sit the fuck down.”
21          49.    Lara was startled by his tone and told him so.
22          50.    In response, and for the sole purpose of inflicting pain, Sergeant Collier
23   grabbed Lara by the wrist. He then ordered Officer Herrera to put handcuffs on Lara.
24   Officer Herrera slammed plaintiff Lara on the ground and applied pressure with his foot
25   or knee to her back. He handcuffed her.
26          51.    While plaintiff Lara lay face down on the ground with Officer Herrera
27   applying pressure on her back, Sergeant Collier approached plaintiff Lara’s right side,
28   where the pressure applied by Officer Herrera had caused her right breast to protrude.



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 1   Sergeant Collier stepped on her exposed breast and applied so much pressure that
 2   plaintiff Lara was left with visible bruises. Plaintiff Lara cried out in pain, pleading with
 3   them that she was complying and imploring them to stop standing on her back and
 4   breast.
 5           52.   As Lara still lay flat on her stomach, Sergeant Collier grabbed her by the
 6   handcuffed arms and yanked upwards, wrenching her shoulders. She again cried out in
 7   pain.
 8           53.   Officer Herrera then took Lara to the Program Office.
 9           54.   When Lara was taken by Officers Herrera and Allyson Guinn to the
10   Program Office, she was first forced into the inmate restroom for a strip-search. She
11   was un-handcuffed for a brief period so that Officer Guinn could perform the strip-
12   search.
13           55.   Though Officer Guinn primarily performed the strip-search, the search
14   was conducted with the door open and in clear view of Officer Herrera, who was able to
15   observe Lara’s nude body.
16           56.   During the search, the Officer Guinn located and shredded the notes Lara
17   had taken regarding the assault on Rojas.
18           57.   Lara was menstruating at the time and requested the opportunity to
19   change her tampon. Officer Guinn did not permit this. Instead, she disposed of Lara’s
20   clothes and gave her a muumuu to wear. The muumuu was so large that it slipped off
21   her shoulder and exposed her breast intermittently throughout the nearly 12 hours of
22   isolation that followed.
23           58.   Lara is the victim of severe domestic violence, and she has graphic scarring
24   as a result. The oversized muumuu exposed her scarring as well. Once in the muumuu,
25   Lara was re-handcuffed and put in an isolation cage on the D side of the Program Office.
26           59.   The isolation cages in the Program Office are designed to allow high-risk
27   prisoners to receive services and therapy in a group setting without being shackled.
28



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 1   While they are small, the cages are meant to facilitate group participation and some
 2   freedom of movement while doing so.
 3         60.     The isolation cages in the Program Office are backed up to a wall and face
 4   the sergeant’s office. People in these cages can only see the office door in front of them,
 5   and into the cage to the side of them.
 6         61.     While in the isolation cages of the Program Office, it is not possible to see
 7   everything in the hallways or restrooms of the Program Office. However, it is possible to
 8   hear everything. This includes actions going on in the restrooms and in the opposite
 9   side of the Program Office.
10         62.     Rojas, Lara, and Ayestas were kept in the cramped isolation cages for
11   approximately 12 hours. They were never released for use of the bathroom, medical
12   treatment, or access to food or water. Lara and Ayestas were handcuffed the entire time.
13         63.     Contrary to policy, Rojas, Lara, and Ayestas were not checked on in the
14   regular intervals required for prisoners in isolation cages.
15         64.     With no access to a bathroom, Rojas, Lara, and Ayestas were reduced to
16   soiling themselves when they could no longer hold their urine.
17         65.     During their confinement, corrections officers tormented and taunted
18   Rojas, Lara, and Ayestas.
19         66.     At or around 11 p.m., Ayestas was taken into the bathroom by a guard.
20   While in the bathroom, she remained in full view of Lieutenant Timothy Tegtmeyer, a
21   male officer. She was ordered to undress and put on a muumuu, which would have
22   caused her to expose herself to Lieutenant Tegtmeyer. When she asked for privacy,
23   Lieutenant Tegtmeyer threatened to put her in Administrative Segregation if she did not
24   undress in front of him.
25         67.     When Ayestas, the known victim of sexual abuse, insisted that she not be
26   forced to change in view of male officers, Lieutenant Tegtmeyer grabbed her by the
27   shoulders and forced her up against the wall. Sergeant Collier then grabbed her arm and
28   slammed her to the floor. She hit her face on the toilet when she fell. Sergeant Collier



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 1   placed his knee into plaintiff Ayestas’ back and applied his weight, pinning her to the
 2   floor.
 3            68.   Lieutenant Tegtmeyer held her legs and Sergeant Collier held her arms.
 4   They began removing her clothes.
 5            69.   While plaintiff Ayestas was so pinned, another male officer retrieved a pair
 6   of scissors and Lieutenant Tegtmeyer and Sergeant Collier proceeded to cut off Ayestas’
 7   clothing.
 8            70.   Ayestas began screaming and crying.
 9            71.   Rojas and Lara overheard the commotion and screaming, and they began
10   begging the officers to stop hurting Ayestas. The guards did not stop.
11            72.   Traumatized by the commotion and unable to bear the cries of their dear
12   friend, Rojas tied a shoelace around their neck and hanged themselves.
13            73.   Lara, who could hear Ayestas’ screams, and who witnessed Rojas’
14   traumatic response, began banging loudly on her cage and screaming that Rojas was
15   trying to hang themselves. The officers in the restroom did not respond to her cries for
16   help.
17            74.   An uninvolved officer, who happened to be passing through the Program
18   Office at the time, was drawn to Lara’s screams and responded. The officer opened
19   Rojas’ cage, and lifted them up and out of the cage.
20            75.   At this time, officers performed a search of Rojas, taking their socks and
21   shoes, and placed Rojas in handcuffs. They dressed Rojas in a thin smock and a pair of
22   pants, with no layers, underwear, or bra underneath.
23            76.   Rather than retrieve medical attention for Rojas, guards placed Rojas back
24   in the holding cell.
25            77.   After several hours, Guards took Rojas and Lara outside in temperatures
26   below 50 degrees Fahrenheit. Rojas was still wearing the single layer of clothing, wet
27   from having soiled themselves, and no socks or shoes. Lara was clad only in a muumuu,
28   a pair of socks, and sneakers.



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 1          78.   Lara’s muumuu kept falling down, exposing her breast. As both Rojas and
 2   Lara were handcuffed, Lara’s only recourse to cover herself was to ask Rojas to use their
 3   teeth to pull up Sara’s falling muumuu. Rojas and Lara were shivering from the cold and
 4   exposure.
 5          79.   Officers Trevino and Reynolds stood with Rojas and Lara and sexually
 6   harassed them. The officers verbally compared the sizes of their genitalia, causing
 7   plaintiffs Rojas and Lara to fear further sexual abuse.
 8          80.   After 30 to 60 minutes, Rojas and Lara were returned to the cages. They
 9   remained in the isolation cages until 1:30 a.m. or 2 a.m.
10          81.   At approximately 2 a.m., Rojas and Lara were released to Administrative
11   Segregation staff and taken to the prison’s Crisis Center by van. Ayestas was already
12   there. They were finally un-cuffed upon reaching the Crisis Center.
13          82.   After being processed through the Crisis Center, all three were placed in
14   Administrative Segregation for about 12 hours.
15          83.   Plaintiffs Rojas, Ayestas, and Lara had visible marks from the officers’
16   abuse over the last nearly 12 hours. Some of their physical injuries remain issues to this
17   day.
18          84.   Rojas had bruising and serious skin lesions on their neck and on their back
19   from the boot burn. They also experience chronic pain in their wrists.
20          85.   Rojas’ requests for medical attention were ignored.
21          86.   Lara’s wrists were visibly injured, and her right breast was clearly bruised.
22   She suffered other bruising and pain from the force with which she hit the ground. She
23   has lasting pain in her wrists, and her hip regularly locks up, causing her pain.
24          87.   Ayestas had a black eye from her face hitting the toilet. She had bruises
25   and injury to her back and shoulder from having a knee and the full weight of an officer
26   pressed into her back and having her arm twisted as she was slammed into a wall. She
27   still experiences chronic pain in her back and shoulder from the assault.
28          88.   They also had severe emotional reactions to the trauma and harassment.



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 1         89.     Rojas experiences severe anxiety and panic from the events that
 2   transpired.
 3         90.     Lara experiences flashbacks, anxiety, trouble sleeping, and phantom
 4   physical sensation mimicking the pain she experienced that day. It triggered memories
 5   of sexual violence and abuse.
 6         91.     Lara requested treatment for PTSD but she never received it. Her trauma
 7   is ongoing.
 8         92.     Ayestas suffers from flashbacks and night terrors as a result of the
 9   incident. She lived in extreme fear after the incident, and her anxiety worsened
10   significantly. She requested treatment for PTSD but was initially denied. She was finally
11   diagnosed with PTSD several months after the incident and receives medication to
12   manage her symptoms.
13         93.     Despite these visible injuries and the trauma, harassment, and humiliation
14   endured at the hands of corrections officers, plaintiffs received no medical or
15   psychological treatment.
16         94.     As soon as they arrived in Administrative Segregation, plaintiffs Rojas,
17   Ayestas, and Lara began asking for a CDCR form 602 to file a grievance about their
18   abuse, treatment, and segregation.
19         95.     They were continually denied access to the grievance forms.
20         96.     Ultimately, plaintiffs Rojas, Ayestas and Lara filed grievances, but guards
21   constantly lost or discarded the grievances. Only Ayestas’ grievance was addressed at the
22   second level of review, which resulted in an investigation, the outcome of which was
23   never shared with Ayestas.
24         97.     Ayestas submitted a grievance on or around July 11, 2016, to express her
25   dissatisfaction with the investigation and appeal her grievance to the third level. She did
26   not receive a response.
27         98.     Despite the investigation, the involved guards were never disciplined.
28



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 1         99.     Isaac Medina was brutally assaulted by staff at CCWF and denied medical
 2   treatment despite visible and severe injuries.
 3         100.    On January 4, 2017, Medina was moved into restricted custody and
 4   assigned to Unit 503.
 5         101.    Medina takes medication four times a day, including a transgender
 6   hormone treatment and medication to treat seizures, PTSD, pain from an anti-
 7   transgender attack several months earlier at a different institution.
 8         102.    When Medina asked Officer Abdel Dalie to be released from his cell to
 9   retrieve his medication the evening he arrived in the Unit, Officer Dalie accused him of
10   lying about his medical needs. He demanded that other prisoners take Medina’s
11   identification to the nurse to verify Medina’s medical needs. After receiving an
12   affirmative answer several times, Officer Dalie released Medina to retrieve his
13   medication.
14         103.    On January 5, 2017, Medina again requested to be let out from his cell to
15   retrieve his medication. Officer Dalie again scrutinized Medina’s medication needs.
16         104.    After opening Medina’s cell door, Officer Dalie stood in the doorway and
17   physically intimidated Medina. He told Medina that he knew who Medina was and knew
18   about the anti-transgender attack he suffered.
19         105.    Medina waited for Dalie to move and left his cell.
20         106.    Officer Dalie trailed Medina and verbally harassed him.
21         107.    Medina asked him to stop but he would not.
22         108.    Medina asked another guard in the Unit to ask Officer Dalie to stop.
23         109.    Following Medina’s request of the other officer, Officer Dalie lunged at
24   him. Without lawful cause to do so, Officer Dalie attempted to grasp Medina and put
25   him in a headlock.
26         110.    Medina dodged the unwarranted attack, and Officer Dalie could not
27   immediately grab Medina’s neck.
28



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 1           111.   During his attempt, Officer Dalie slipped and fell in a pool of water created
 2   by a leaking washing machine.
 3           112.   After recovering from his fall, Officer Dalie shut Medina’s cell door so that
 4   Medina was trapped with him in the Unit. In 503, there is a catwalk above the unit
 5   where an officer armed with a gun, and a sign alerting prisoners that no warning shots
 6   will be fired. Without being able to return to his cell, Medina felt like he could not find
 7   safety.
 8           113.   Officer Dalie then again attempted to get Medina in a headlock. Medina
 9   again dodged his attack, but Officer Dalie gripped Medina and slammed him against the
10   wall.
11           114.   Many prisoners in the Unit looked on and yelled for Officer Dalie to stop.
12           115.   Officer Dalie called a code, which alerted other guards to respond to his
13   location.
14           116.   Sergeant Gilbert Rubalcava and Officers [First Name Unknown] Mendoza,
15   Anselmo Valencia, and Albert Del Toro responded to the code.
16           117.   Sergeant Rubalcava approached Medina, put his arm around Medina’s
17   neck and held him in a chokehold while Officer Dalie attempted to handcuff Medina and
18   Officers Valencia and Mendoza put Medina in leg shackles.
19           118.   After placing Medina in leg shackles and placing Medina’s right hand in
20   the handcuffs, Officer Dalie began to punch Medina in the side of his abdomen. Officers
21   then performed an unnecessary and violent maneuver on Medina, known as “tossing.”
22   With one officer stepping on the chain separating Medina’s leg cuffs, another offer
23   shoved Medina from behind, causing him to fall forward. He twisted slightly to avoid
24   falling on his face, and ended up crashing down onto his right side.
25           119.   Once on the ground, Officer Dalie applied pressure to Medina’s back and
26   Sergeant Rubalcava choked him again. The officers secured Medina’s left hand in
27   handcuffs behind his and brought Medina to his feet and pined him again against the
28   wall.



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 1         120.    Medina has a known medical requirement that his hands be handcuffed in
 2   front of his body or in waist chains. Having his hands handcuffed behind his back
 3   caused unnecessary pain. The officers further caused wanton and unnecessary pain by
 4   holding Medina’s handcuffed arms straight out behind him and lifting up so that his
 5   arms were closer to parallel with the ground.
 6         121.    Sergeant Rubalcava then ordered Officer Mendoza, a female guard, to pat
 7   down Medina. Medina attempted to position himself in a manner that would allow for
 8   the pat down, but Sergeant Rubalcava continuously forced Medina against the wall.
 9         122.    One of the officers stood behind Medina and attempted to kick Medina’s
10   legs apart. The kicking caused unnecessary pain because Medina’s legs were already
11   spread as far as the leg shackle would permit.
12         123.    Medina was clad in a ribbed undershirt and sweat pants. When Officer
13   Mendoza patted him down, she loosened the string on his pants. As a result, Medina’s
14   pants fell and exposed his gentiles.
15         124.    The officers walked Medina outside where the ground was slick with rain
16   and the temperature was approximately 40 degrees. He was escorted in a tank top with
17   his pants down, exposed, both his hands and legs cuffed, and his hands held up in an
18   excruciating manner.
19         125.    As he was marched outside, Medina was exposed to prisoners and other
20   guards.
21         126.    Medina pleaded with the guards to raise his pants and allow him to cover
22   himself. Prisoners watching also yelled to the guards to pick up Medina’s pants.
23         127.    Once outside, Medina was again thrown to the ground.
24         128.    Officer Del Toro approached Medina with a wheelchair. The officers set
25   Medina in the wheelchair, further exposing his genitals, and kept his hands straight and
26   lifted over the back of the wheelchair. The way that he was placed in the wheelchair
27   caused his feet to drag.
28



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 1         129.      Lieutenant Tegtmeyer, who observed the situation unfold outside, made
 2   encouraging remarks to the officers.
 3         130.   The officers pulled Medina from the wheelchair and walked him to the
 4   Unit A Program Office. Officers placed him in an isolation cage for four hours with no
 5   food, water, or opportunity to use the bathroom.
 6         131.   They kept him in isolation with his hands cuffed behind his back, his legs
 7   chained, and his pants pulled down.
 8         132.   At the time of the incident, Medina was disabled. As such, he had several
 9   accommodations in accordance with the prison’s obligations under the American with
10   Disability Act. His accommodations included the use of a walker, and the prohibition of
11   handcuffing him behind his back.
12         133.   When putting plaintiff Medina into the isolation cage with his hands cuffed
13   behind his back, Sergeant Rubalcava and Officer Valencia slammed plaintiff Medina’s
14   head into the wall, causing his head to bleed.
15         134.   Medina was left in isolation for four hours and not checked in regular
16   intervals.
17         135.   When he was checked on, his pleas to go to the bathroom or have water
18   were ignored.
19         136.   Officers continued to berate and make crude comments to him.
20         137.   About 30 minutes into his confinement, Lieutenant Tegtmeyer came to his
21   cell and began making sexual comments to Medina. He told other guards, in front of
22   Medina, that Medina had not been with a man in a long time. He suggested that he take
23   Medina to a room around the corner to have sex with him. He said no one would know
24   because Medina was already bloodied up from the attack. Medina grew concerned that
25   he would be sexually assaulted or raped by Lieutenant Tegtmeyer.
26         138.   After approximately four hours, Medina was released and allowed to go to
27   medical to have an evaluation performed on him. The nurses were visibly distraught at
28



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 1   his injuries, but they simply documented them and released him back to the officers so
 2   that he could be placed in Administrative Segregation.
 3           139.   Plaintiff Medina had heinous injuries including a dislocated shoulder that
 4   was so severe that he could see a bone tenting his skin. He had cuts on his head and
 5   ankles and he still suffers from carpel tunnel and nerve damage in his wrists. He loses
 6   grip strength intermittently and suffers from chronic pain.
 7           140.   Despite those injuries to his arm, wrist and head, he was denied medical
 8   care.
 9           141.   Medina immediately began submitting co-pay slips requesting medical
10   care. All of his requests were ignored.
11           142.   On January 10, 2017, Medina went on hunger strike to draw attention to
12   his needs.
13           143.   On or around January 15, 2017, Medina filed a 602 requesting medical
14   care.
15           144.   Despite his efforts, Medina was not provided medical care until he was
16   moved to California Institute of Women on February 28, 2017.
17           145.   The sexually explicit epithets and threats of sexualized violence
18   that occurred throughout the duration of these incidents of physical
19   violence continue to be an every-day occurrence for plaintiffs who remain
20   incarcerated and other gender non-conforming and queer prisoners at
21   CCWF.
22                   V. EXHAUSTION OF ADMINISTRATIVE RELIEF
23           146.   All plaintiffs made efforts to exhaust their administrative remedies, but
24   responses by CCWF and CDCR, when provided, have been inadequate.
25           147.   While plaintiffs Rojas, Ayestas and Lara ultimately filed grievances, the
26   grievances were constantly lost or discarded by guards. Only Ayestas’ grievance was
27   addressed at the second level of review, which resulted in an investigation, the outcome
28   of which was never shared with Ayestas, and which appears to have accomplished little.



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 1         148.    Upon information and belief, no guards were disciplined regarding the
 2   events of November 11, 2015.
 3         149.    Plaintiffs Lara and Ayestas were denied requests for a 602 form to file a
 4   grievance against prison staff on November 11 and November 12, 2015.
 5         150.    Plaintiff Ayestas submitted a 602 in December 2015. After having to
 6   appeal to the second level, she heard that her request was partially granted and that
 7   CCWF would investigate the incident.
 8         151.    Plaintiff Ayestas, Rojas, and Lara were interviewed as a part of the
 9   investigation. However, after some time, it became clear that the prison administration
10   was not going to act as a result of the investigation.
11         152.    On or around July 11, 2016, Ayestas filed a grievance expressing
12   dissatisfaction with the investigation and asking to appeal her granted second level
13   appeal to the third level. Her grievance was not answered.
14         153.    Plaintiff Lara filed three separate grievances complaining of her attack and
15   asking for medical care. Her grievances were all lost or unanswered.
16         154.    On December 2, 2015, Lara filed her first 602 regarding the above-
17   described incidents. She received no response.
18         155.    In March of 2016, Lara filed a second 602 regarding the incident. This
19   grievance too went unanswered.
20         156.    On September 15, 2016, Lara filed a third 602 and referenced her previous
21   attempts. This third 602 was marked “RECEIVED” by CDCR on October 25, 2016. On
22   October 27, 2016, ten months after first filing a grievance, Lara received a 602 response
23   from CDCR that did not address the substance of her complaint.
24         157.    Lara has since tried to clarify the response and receive a copy of more
25   paperwork, but she has received no response to these requests.
26         158.    Medina filed a grievance on January 23, 2017 regarding his assault. He
27   was interviewed and a first level response was issued on March 7, 2017.
28



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 1         159.    Due to Medina’s move to CIW, Medina did not receive his first level
 2   response. He filed informal requests to receive his response but he was not given his
 3   response.
 4         160.    Medina filed a complaint with the Office of Internal Affairs. The office
 5   wrote to Medina on March 28, 2017 and told median that his issue had been converted
 6   into a grievance and sent to the appropriate level of appeal for review. Medina did not
 7   see a response to his appeal.
 8         161.    Further efforts to exhaust appeals would be futile and are unnecessary
 9   given that the appeals process was constructively unavailable to them due to the prison
10   administration’s failure to answer multiple appeals.
11                                FIRST CLAIM FOR RELIEF
            USE OF EXCESSIVE FORCE IN VIOLATION OF THE EIGHTH
12                                       AMENDMENT
13    (By all plaintiffs against defendants Lieutenant Tegtmeyer, Sergeant Collier, Officer
      Herrera, Officer Reynolds, Officer Trevino, Officer Dalie, Sergeant Rubalcava, Officer
14        Valencia, Officer Del Toro in their individual and official capacities.)
                                        (42 U.S.C. § 1983)
15
           162.    Plaintiffs incorporate by reference paragraphs 1 through 161 above as
16
     though fully set forth herein.
17
           163.    By virtue of the foregoing, defendants Lieutenant Tegtmeyer, Sergeant
18
     Collier, Officer Herrera, Officer Reynolds, Officer Trevino, Officer Dalie, Sergeant
19
     Rubalcava, Officer Valencia, Officer Del Toro, while under color of law, used excessive
20
     and unnecessary force and in doing so acted maliciously and sadistically for the
21
     purpose of causing harm and not in a good faith effort to maintain or restore discipline,
22
     causing harm to plaintiffs, in violation of their right under the Eighth Amendment of
23
     the United States Constitution to be free from cruel and unusual punishment.
24
25
26
                         SECOND CLAIM FOR RELIEF
27           DENIAL OF MEDICAL CARE IN VIOLATION OF THE EIGHTH
28                              AMENDMENT




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 1    (By all plaintiffs against defendants Lieutenant Tegtmeyer, Sergeant Collier, Officer
      Herrera, Officer Reynolds, Officer Trevino, Officer Dalie, Sergeant Rubalcava, Officer
 2        Valencia, Officer Del Toro, in their individual and official capacities.)
 3                                      (42 U.S.C. § 1983)
          164. Plaintiffs incorporate by reference paragraphs 1 through 163 above as
 4
     though fully set forth herein.
 5
           165.    The Eighth Amendment protection from cruel and unusual punishment
 6
     places certain duties on prison officials. Such officials must provide humane conditions
 7
     of confinement; ensure that inmates receive adequate food, clothing, shelter and
 8
     medical care; and take reasonable measures to guarantee the safety of the inmates.
 9
           166.    By virtue of the foregoing, defendants Lieutenant Tegtmeyer, Sergeant
10
     Collier, Officer Herrera, Officer Reynolds, Officer Trevino, Officer Dalie, Sergeant
11
     Rubalcava, Officer Valencia, Officer Del Toro knew of plaintiffs' serious medical needs
12
     and the substantial risk of serious harm that was posed, and with deliberate
13
     indifference, disregarded the risk of harm to plaintiffs by failing to take reasonable
14
     measures to address it, causing harm to plaintiffs, in violation of the right under the
15
     Eighth Amendment of the United States Constitution to be free from cruel and unusual
16
     punishment.
17
                                  THIRD CLAIM FOR RELIEF
18     SEXUAL ABUSE AND HARASSMENT IN VIOLATION OF THE EIGHTH
                                         AMENDMENT
19    (By all plaintiffs against defendants Lieutenant Tegtmeyer, Sergeant Collier, Officer
20    Herrera, Officer Reynolds, Officer Trevino, Officer Dalie, Sergeant Rubalcava, Officer
          Valencia, Officer Del Toro, in their individual and official capacities.)
21                                      (42 U.S.C. § 1983)
          167.    Plaintiffs incorporate by reference paragraphs 1 through 166 above as
22
     though fully set forth herein.
23
           168.    By virtue of the foregoing, defendants Lieutenant Tegtmeyer, Sergeant
24
     Collier, Officer Herrera, Officer Reynolds, Officer Trevino, Officer Dalie, Sergeant
25
     Rubalcava, Officer Valencia, Officer Del Toro sexually abused and harassed plaintiffs,
26
     an act deeply offensive to human dignity and one that serves no legitimate penological
27
     purpose. In doing so, defendants demonstrated malicious and sadistic intent to harm
28
     plaintiffs, causing plaintiffs harm in violation of their Eighth Amendment right to be


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 1   free from cruel and unusual punishment.
 2                               FOURTH CLAIM FOR RELIEF
             RETALIATION IN VIOLATION OF THE FIRST AMENDMENT
 3    (By all plaintiffs against defendants Lieutenant Tegtmeyer, Sergeant Collier, Officer
 4    Herrera, Officer Reynolds, Officer Trevino, Officer Dalie, Sergeant Rubalcava, Officer
          Valencia, Officer Del Toro, in their individual and official capacities.)
 5                                      (42 U.S.C. § 1983)
          169. Plaintiffs incorporate by reference paragraphs 1 through 168 above as
 6
     though fully set forth herein.
 7
           170.    By virtue of the foregoing, defendants Lieutenant Tegtmeyer, Sergeant
 8
     Collier, Officer Herrera, Officer Reynolds, Officer Trevino, Officer Dalie, Sergeant
 9
     Rubalcava, Officer Valencia, Officer Del Toro motivated by plaintiffs' protected activity,
10
     retaliated against plaintiffs who were engaged in an effort to access the courts, an act
11
     protected under the First Amendment, by assaulting plaintiffs and restricting their
12
     access to grievances, thus chilling the plaintiffs’ protected speech.
13
                                  FIFTH CLAIM FOR RELIEF
14   FAILURE TO ADEQUATELY HIRE, TRAIN, SUPERVISE AND DISCIPLINE
15      CORRECTIONS OFFICERS TO REFRAIN FROM VIOLATING PRISONERS'
                                    CONSTITUTIONAL RIGHTS
16   (By all plaintiffs against defendants Kernan and Espinoza in their official capacities,
         and defendants Adams and Johnson in their individual capacities.)
17                                      (42 U.S.C. § 1983)
18        171.     Plaintiffs incorporate by reference paragraphs 1 through 170 above as

19   though fully set forth herein.

20         172.    By virtue of the foregoing, defendants Kernan, Espinoza,

21   Adams and Johnson are required to train corrections officers and

22   implement policies that protect the constitutional rights of prisoners, and

23   discipline officers who violate such rights.

24         173.    By virtue of the foregoing, defendants Kernan, Espinoza, Adams and

25   Johnson failed in their obligation to adequately train their corrections officers to

26   refrain from subjecting prisoners to excessive force and sexual abuse and harassment,

27   violations of plaintiffs’ constitutional rights, in their obligation to have in

28   place policies that protect the constitutional rights of prisoner, and in their
     obligation to discipline officers who violate the constitutional rights of


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 1   prisoners.
 2         174.    By virtue of the foregoing, defendants Adams and Johnson were and
 3   defendants Kernan and Espinoza remain deliberately indifferent to the obvious
 4   consequences of their failure to adequately hire, train, supervise, and discipline
 5   corrections officers who engage in these constitutional violations. As a result of
 6   these inadequacies, corrections officers employed by defendants deprived plaintiffs of
 7   their rights, as set forth above.
 8                                   XII. PRAYER FOR RELIEF
 9         175.    Wherefore, plaintiffs pray this Court to order relief as follows:
10                     a. Award prospective injunctive relief in favor of plaintiffs
11                         Ayestas, Lara and Medina from future wrongdoing by the
12                         defendants;
13                     b. Award declaratory relief in favor of plaintiffs Ayestas,
14                         Lara and Medina;
15                     c. Award compensatory damages in favor of plaintiffs against all
16                         defendants sued in their individual capacities, jointly and
17                         severally, for all damages sustained as a result of defendants’
18                         wrongdoing, in an amount to be proven at trial, including interest
19                         thereon;
20                     d. Award plaintiffs their reasonable costs and expenses incurred in
21                         this action, including attorneys' fees and expert fees;
22                     e. Such other and further relief as the Court may deem just and
23                         proper.
24
25
26
27
28



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 1
 2                           XIII. JURY TRIAL DEMANDED
 3        176.   Plaintiffs hereby demand a trial by jury.
 4
 5        Dated: May 1, 2018
 6                                                  SIEGEL, YEE & BRUNNER
 7
 8                                                  By: _/s/ EmilyRose Johns___
                                                        EmilyRose Johns
 9
                                                    Attorneys for Plaintiffs
10                                                  STACY ROJAS, IVETTE AYESTAS,
11                                                  SARAH LARA, and CLAUDIA “ISAAC”
                                                    MEDINA
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